Case 2:18-cr-00124-I\/|WF Document 8 Filed 03/09/18 Page 1 of 1 Page |D #:120

 

 

 

 

 

Mem orandum
Subject: Date:
United States v. Philin J. Lavfield March 6, 2018

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KIRY K. GRAY Marl< Aveis 1
Clerk, United States Distriet Court Assistant United States Attorney
Central District of California Criminal Division

F or purposes of determining Whether the above-referenced matter, being filed on March 9, 2018:
(a) should be assigned to the Honorable André Birotte Jr., it

l:} is

is not

a matter that Was pending in the United States Attorney’s Offiee (USAO) on or before
August 8, 2014, the date the Honorable André Birotte Jr. resigned from his position as the
United States Attorney for the Central District of California.

(b) should be assigned to the Honorable Michael W. Fitzgerald, it
|:| is
is not

(l) a matter that Was pending in the Terrorism and EXport Crimes Seetion in the USAO’s
National Seeurity Division on or before August 3, 2015; (2) a matter pending in the
USAO’s National Seourity Section in the USAO’s Criminal Division on or before August
3, 2015 , or a matter in Which the National Seeurity Section Was previously involved; (3) a
matter pending in the USAO’s National Seeurity Division on or after September 14,

2016 ; or (4) a matter in Which Assistant United States Attorney Patriek R. Fitzgerald is or
has been personally involved or on Which he has personally consulted While employed in

the USAO.

Mark Aveis
Assistant United States Attorney

 

